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                IN THE UNITED STATES DISTRICT COURT
                FOR THE NORTHERN DISTRICT OF TEXAS
                          DALLAS DIVISION

RODERICK NAPOLEON HARRIS,              §
Petitioner,                            §
                                       §
v.                                     §         CIV. NO. 3:20-cv-03702-E
                                       §         *DEATH PENALTY CASE*
BOBBY LUMPKIN,                         §
Director, Texas Department of          §
Criminal Justice, Correctional         §
Institutions Division,                 §
Respondent.                            §

          RESPONDENT’S MOTION TO SUBSTITUTE COUNSEL
            FOR THE DIRECTOR WITH BRIEF IN SUPPORT

      This is a federal habeas corpus proceeding initiated by Petitioner

Roderick Harris, a death-sentenced Texas inmate, pursuant to 28 U.S.C.

§ 2254. Lead counsel, former Assistant Attorney General Willa Cockshutt, is

no longer with the Office of the Attorney General for Texas, and this case has

been reassigned to the undersigned counsel. Accordingly, the Director

respectfully requests that Willa Cockshutt be withdrawn and removed as

counsel of record for Bobby Lumpkin, Director of TDCJ-CID, and Assistant

Attorney General Molly Knowles be substituted thereof.               All future

correspondence should be sent to the same address at the undersigned’s

attention.



                                       Respectfully submitted,
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                                       Attorney General of Texas

                                       BRENT WEBSTER
                                       First Assistant Attorney General

                                       JOSH RENO
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                                       for Criminal Justice

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                                       /s/ Molly Knowles
                                       MOLLY KNOWLES*
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                                       ATTORNEYS FOR RESPONDENT




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                       CERTIFICATE OF CONFERENCE

     The Director has conferred with Harris through his counsel of record,
and he does not oppose this substitution.

                                      s/ Molly M. Knowles
                                      MOLLY M. KNOWLES
                                      Assistant Attorney General


                         CERTIFICATE OF SERVICE

      I hereby certify that I have electronically filed the foregoing on November
8, 2023, with the Clerk of Court using the CM/ECF system, which will then
send a notification of such filing (NEF) to the following.

Michael Mowla
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                                      s/ Molly M. Knowles
                                      MOLLY M. KNOWLES
                                      Assistant Attorney General




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